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 9         IN THE UNITED STATES DISTRICT COURT
10      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                            Case No. CV 21-3875 DOC (MRW)
13   TROY MONROE HILL,
14                     Petitioner,
                                            ORDER ACCEPTING FINDINGS
15                v.                        AND RECOMMENDATIONS OF
                                            UNITED STATES MAGISTRATE
16   CALIFORNIA DEPARTMENT OF               JUDGE
     CORRECTIONS AND
17   REHABILITATION,
18                     Respondent.
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21         Pursuant to 28 U.S.C. § 636, the Court reviewed the petition, the
22   records on file, and the Report and Recommendation of the United States
23   Magistrate Judge. Petitioner did not file any written objections to the
24   report. The Court accepts the findings and recommendation of the
25   Magistrate Judge.
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Case 2:21-cv-03875-DOC-MRW Document 28 Filed 11/23/21 Page 2 of 2 Page ID #:1933



 1         IT IS ORDERED that Judgment be entered denying the petition

 2   and] dismissing this action with prejudice.

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     DATE: November 23, 2021             ________________________________
 6                                       HON. DAVID O. CARTER
 7                                       UNITED STATES DISTRICT JUDGE
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